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^ƵďũĞĐƚ͗ ZĞ͗ ΀sZ/&z ^EZ ďĞĨŽƌĞ ŽƉĞŶŝŶŐ ĂŶǇ ĂƩĂĐŚŵĞŶƚƐ΁&d& WZ ZĞǀŝĞǁ
&ƌŽŵ͗ ĞƌŶĂĚĞƩĞ dƌĂŶ
ĂƚĞ͗ dŚƵ͕ ϮϬ ^ĞƉ ϮϬϭϴ ϭϮ͗ϮϮ͗Ϭϲ -ϬϱϬϬ
dŽ͗ :ŽŚŶ &ĂŚǇ
Đ͗ DĂƌĐƵƐ ŶĚƌĂĚĞ


,ĞůůŽ :ŽŚŶ͕

dŚĂŶŬ ǇŽƵ͕ / ǁŝůů ŵĂŬĞ ƚŚĞ ĐŚĂŶŐĞƐ ĂŶĚ ŐĞƚ ŝƚ ƌĞĂĚǇ ƚŽ ƉƵďůŝƐŚ͘

dŚĂŶŬ ǇŽƵ͕

ĞƌŶĂĚĞƩĞ dƌĂŶ



KŶ dŚƵ͕ ^ĞƉ ϮϬ͕ ϮϬϭϴ Ăƚ ϭϭ͗ϰϴ D :ŽŚŶ Z͘ &ĂŚǇ                               ǁƌŽƚĞ͗

WůĞĂƐĞ ƐĞĞ ĂƩĂĐŚĞĚ

dŚĂŶŬƐ͕



:K,E Z͘ &,z | DĞŵďĞƌ
tŚŝƚĂŬĞƌ ŚĂůŬ ^ǁŝŶĚůĞ Θ ^ĐŚǁĂƌƚǌ W>>




&ƌŽŵ͗ ĞƌŶĂĚĞƩĞ dƌĂŶ
^ĞŶƚ͗ tĞĚŶĞƐĚĂǇ͕ ^ĞƉƚĞŵďĞƌ ϭϵ͕ ϮϬϭϴ Ϯ͗ϯϴ WD
dŽ͗ :ŽŚŶ Z͘ &ĂŚǇ
^ƵďũĞĐƚ͗ ΀sZ/&z ^EZ ďĞĨŽƌĞ ŽƉĞŶŝŶŐ ĂŶǇ ĂƩĂĐŚŵĞŶƚƐ΁&d& WZ ZĞǀŝĞǁ


,ĞůůŽ :ŽŚŶ͕

DǇ ŶĂŵĞ ŝƐ ĞƌŶĂĚĞƩĞ͗ / ǁŽƌŬ ǁŝƚŚ DĂƌĐƵƐ ĂŶĚ E͘

,Ğ ŚĂƐ ĂƐŬĞĚ ŵĞ ƚŽ ƐĞŶĚ ŽǀĞƌ ƚŚĞ &d& WZ ƌĞůĞĂƐĞ ĨŽƌ ǇŽƵƌ ƌĞǀŝƐŝŽŶƐ ĂŶĚ ƌĞǀŝĞǁ͘

WůĞĂƐĞ ŵĂŬĞ ĂŶǇ ƌĞǀŝƐŝŽŶƐ ŶĞĐĞƐƐĂƌǇ ĂŶĚ / ǁŝůů ǁŽƌŬ ŽŶ ŐĞƫŶŐ ƚŚĞ WZ ƉƵďůŝƐŚĞĚ ŽŶĐĞ /ΖǀĞ ƌĞĐĞŝǀĞĚ ǇŽƵƌ
ĞĚŝƚƐ͘




                                                                                         EX3165-001
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WůĞĂƐĞ ĚŽ ŶŽƚ ŚĞƐŝƚĂƚĞ ƚŽ ĐŽŶƚĂĐƚ ŵĞ ǁŝƚŚ ĂŶǇ ƋƵĞƐƟŽŶƐ Žƌ ĐŽŶĐĞƌŶƐ ƌĞŐĂƌĚŝŶŐ ƚŚŝƐ͘

dŚĂŶŬ ǇŽƵ͕

ĞƌŶĂĚĞƩĞ dƌĂŶ

KĸĐĞ͗

ŵĂŝů͗




ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ ŽŶĮĚĞŶƟĂůŝƚǇ EŽƟĐĞ͗ dŚŝƐ Ğ-ŵĂŝů ĂŶĚ ĂŶǇ
ĂƩĂĐŚŵĞŶƚƐ ĂƌĞ ŝŶƚĞŶĚĞĚ ŽŶůǇ ĨŽƌ ƵƐĞ ďǇ ƚŚĞ ŝŶĚŝǀŝĚƵĂů Žƌ ĞŶƟƚǇ ŶĂŵĞĚ ŚĞƌĞŝŶ ĂŶĚ ŵĂǇ ĐŽŶƚĂŝŶ ůĞŐĂůůǇ
ƉƌŝǀŝůĞŐĞĚ Žƌ ĐŽŶĮĚĞŶƟĂů ŝŶĨŽƌŵĂƟŽŶ͘ /Ĩ ǇŽƵ ĂƌĞ ŶŽƚ ƚŚĞ ŝŶƚĞŶĚĞĚ ƌĞĐŝƉŝĞŶƚ ŽĨ ƚŚŝƐ Ğ-ŵĂŝů͕ ǇŽƵ ĂƌĞ ŚĞƌĞďǇ
ŶŽƟĮĞĚ ƚŚĂƚ ĂŶǇ ĚŝƐƐĞŵŝŶĂƟŽŶ͕ ĚŝƐƚƌŝďƵƟŽŶ͕ Žƌ ĐŽƉǇŝŶŐ ŽĨ ƚŚŝƐ Ğ-ŵĂŝů Žƌ ŽĨ ĂŶǇ ĂƩĂĐŚŵĞŶƚ ŝƐ ƐƚƌŝĐƚůǇ
ƉƌŽŚŝďŝƚĞĚ͘ /Ĩ ǇŽƵ ŚĂǀĞ ƌĞĐĞŝǀĞĚ ƚŚŝƐ Ğ-ŵĂŝů ŝŶ ĞƌƌŽƌ͕ ƉůĞĂƐĞ ŝŵŵĞĚŝĂƚĞůǇ ŶŽƟĨǇ ƚŚĞ ƐĞŶĚĞƌ Ăƚ tŚŝƚĂŬĞƌ
ŚĂůŬ ^ǁŝŶĚůĞ Θ ^ĐŚǁĂƌƚǌ W>> ďǇ ƚĞůĞƉŚŽŶĞ Ăƚ                    Žƌ ƌĞƚƵƌŶ Ğ-ŵĂŝů͕ ĚŽ ŶŽƚ ƌĞĂĚ ŝƚ ĂŶĚ
ƉĞƌŵĂŶĞŶƚůǇ ĚĞůĞƚĞ ƚŚĞ ŽƌŝŐŝŶĂů͘ ------- dŚĂŶŬ zŽƵ͘




                                                                                          EX3165-002
